       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 1 of 68



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                      *
O. JOHN BENISEK, et al.,              *
                                      *
      Plaintiffs,                     *
                                      *
v.                                    *   Case No. 1:13-cv-03233-JKB
                                      *
LINDA H. LAMONE, et al.,              *
                                      *
      Defendants.                     *
                                      *


COMMON CAUSE; THE BRENNAN CENTER
FOR JUSTICE AT N.Y.U. SCHOOL OF
LAW; THE CAMPAIGN LEGAL CENTER, INC.,

      Amici Supporting Plaintiffs.



                            MEMORANDUM OPINION

Argued: October 4, 2018                             Decided: November 7, 2018

Michael B. Kimberly, Paul W. Hughes, Stephen M. Medlock, E. Brantley Webb, and
Micah D. Stein, MAYER BROWN LLP, Washington, D.C., for Plaintiffs.

Sarah W. Rice, Jennifer L. Katz, and Andrea W. Trento, OFFICE OF THE ATTORNEY
GENERAL OF MARYLAND, Baltimore, Maryland, for Defendants.

Benjamin W. Thorpe, Emmet J. Bondurant, BONDURANT MIXSON AND ELMORE
LLP, Atlanta, Georgia, Gregory L. Diskant, PATTERSON BELKNAP WEBB AND
TYLER LLP, New York, New York, and Michael A. Pretl, Riverton, Maryland, for
Amicus Common Cause. Charles E. Davidow, Washington, D.C., Pietro Signoracci,
Robert A. Atkins, New York, New York, PAUL WEISS RIFKIND WHARTON AND
GARRISON LLP, and Michael Li, Thomas P. Wolf, New York, New York, for Amicus
The Brennan Center for Justice at N.Y.U. School of Law. Paul March Smith,
Washington, D.C., for Amicus The Campaign Legal Center, Inc.
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 2 of 68



Before NIEMEYER, Circuit Judge; BREDAR, Chief District Judge; and RUSSELL,
District Judge.

Judge Niemeyer wrote the opinion, in which Judge Russell joined. Chief Judge Bredar
wrote a separate opinion, in which Judge Russell joined, concurring in the judgment.
Judge Russell wrote a separate opinion, concurring.




                                         2
        Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 3 of 68



NIEMEYER, Circuit Judge:

       The plaintiffs in this action — seven registered Republican voters who lived in

Maryland’s Sixth Congressional District prior to the State’s enactment of its 2011

congressional redistricting law — challenge the constitutionality of that law and,

specifically, the way the State redrew the boundaries of the Sixth District. See Md. Code

Ann., Elec. Law § 8-701 et seq. They contend that in enacting the law, State officials

specifically intended to burden Republicans with the overarching goal of achieving a

state delegation to the U.S. House of Representatives of seven Democrats and one

Republican, as distinct from the previous six Democrats and two Republicans. To do so,

the officials targeted Republican voters in the Sixth District by, on net, removing roughly

66,000 of them from the district and adding some 24,000 Democratic voters, thereby

effecting a swing of about 90,000 voters and bringing about the single greatest alteration

of voter makeup in any district in the Nation following the 2010 census. The plaintiffs

point out that before the redistricting, experts regarded the Sixth District as “Solid

Republican” and after redistricting, as “Likely Democratic.” Based on these factual

allegations, the plaintiffs argue that in enacting the 2011 law, the State deliberately

diluted their votes and burdened their associational interests based on their party

affiliation and voting history, in violation of their First Amendment rights.

       The parties have conducted and completed extensive discovery, and neither the

plaintiffs nor the State has requested any more. Moreover, no party disputes the material

facts in the record, although the parties do dispute the legal consequences that flow from



                                             3
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 4 of 68



them. Following discovery, the plaintiffs filed a motion for summary judgment, and the

State filed a cross-motion for summary judgment.

      This court conducted a lengthy hearing on the cross-motions for summary

judgment on October 4, 2018, and now, for the reasons given herein, the court grants the

plaintiffs’ motion and denies the State’s motion. The record shows that:

          • The State specifically targeted voters in the Sixth Congressional District

             who were registered as Republicans and who had historically voted for

             Republican candidates.

          • The State specifically intended to diminish the value of those targeted

             citizens’ votes by removing a substantial number of them from the Sixth

             District and replacing them with Democratic voters for the purpose of

             denying, as a practical matter, the targeted voters the opportunity to elect

             the candidate of their choice.

          • The State gave effect to its intent by, on net, removing about 66,000

             Republican voters from the Sixth District and adding 24,000 Democratic

             voters in their place.

          • The State meaningfully burdened the targeted Republican voters’

             representational rights by substantially diminishing their ability to elect

             their candidate of choice.

          • The State also burdened the Republican voters’ right of association, as

             demonstrated by voter confusion, diminished participation in Republican


                                              4
        Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 5 of 68



              organizational efforts in the Sixth District, and diminished Republican

              participation in voting, as well as decreased Republican fundraising.

          • These injuries were the direct result of the State’s purpose to convert the

              Sixth District from a solid Republican district to a Democratic district.

We thus conclude that the plaintiffs have sufficiently demonstrated that Maryland’s 2011

redistricting law violates the First Amendment by burdening both the plaintiffs’

representational rights and associational rights based on their party affiliation and voting

history. Because the plaintiffs also satisfy the requirements for injunctive relief, we enter

a judgment permanently enjoining the State from using the 2011 congressional

redistricting plan after the 2018 congressional election and requiring it promptly to adopt

a new plan in conformance with this Memorandum Opinion for use in the 2020

congressional elections.


                                   I. FACTS OF RECORD

                                              A

       The facts of record are not disputed. Following the 2010 decennial census, the

State of Maryland redrew the lines of its 8 congressional districts and its 47 state

legislative districts, as required to equalize the population in each district. In particular,

the census showed that the Sixth Congressional District had grown somewhat since the

prior census, having 10,186 more residents than the ideal adjusted population of 721,529

for a Maryland congressional district, a variation of 1.4%. Joint Stipulations ¶¶ 9, 52

(ECF No. 104). Thus, Maryland was required to remove a net of 10,186 residents from


                                              5
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 6 of 68



the Sixth District to achieve the required equal population for the District. With such a

modest adjustment, however, the Sixth District would have remained a solid Republican

district, which, together with the First District on the Eastern Shore of Maryland, would

have given Maryland two reliably Republican districts.

      Since 1966, the Sixth District had always been configured to include all of

Maryland’s five most northwestern counties — Garrett, Allegany, Washington,

Frederick, and Carroll Counties. See Expert Report of John T. Willis at 9 & app. A, maps

11–15 (ECF No. 186-17).       After the 2002 redistricting, the District included this

identifiable core of five counties, as well as a small pocket of northern Montgomery

County and larger portions of Baltimore and Harford Counties, shown as follows:




                                           6
           Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 7 of 68



       At the time of the 2010 congressional election — the last held prior to the 2011

redistricting — 47% of the Sixth District’s approximately 446,000 registered voters were

registered as Republicans, 36% were registered as Democrats, and 16% were registered

as Unaffiliated, making the District the most Republican in the State. Joint Stipulations

¶ 10 & Ex. 2 at 2. Representative Roscoe Bartlett, a Republican, had continuously

represented the District since 1993, and he won reelection in 2010 by a margin of 28%.

Id. ¶ 8.

       In creating the 2011 redistricting plan, the Democratic officials responsible for the

plan redrew the Sixth District’s boundaries far more dramatically than was necessary to

remove 10,186 residents from the District. Under their plan, the Sixth District retained

only one-half of its original population (specifically, the residents of Garrett, Allegany,

and Washington Counties, as well as roughly half the population of Frederick County).

The other half of the former Sixth District’s population — roughly 360,000 residents —

was moved to other districts. Approximately 60% of those removed — those from

Frederick County and more than half the population of Carroll County — were shifted

into the Eighth Congressional District, which had previously been confined almost

entirely to Montgomery County. In place of those residents, the plan added to the new

Sixth District approximately 350,000 residents from Montgomery County — the majority

of whom had previously been assigned to the Eighth District.           The exchange thus

involved over 700,000 residents. The final 2011 redistricting map for the Sixth District is

shown as follows:



                                             7
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 8 of 68




The new Eighth District is shown as follows:




                                           8
        Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 9 of 68



Finally, the map as a whole is shown as follows:




       The registered voters removed from the former Sixth District were predominately

Republican, while those added were predominately Democratic. Specifically, in the

precincts removed from the Sixth District, there were on average approximately 1.5 times

as many registered Republicans as Democrats. By contrast, in the precincts added to

Sixth District, registered Democrats outnumbered Republicans by more than 2 to 1. In

total, the reshuffling of the Sixth District’s voters resulted in a net reduction of roughly

66,000 registered Republicans and a net increase of some 24,000 registered Democrats,

for a swing of about 90,000 voters. See Opening Expert Report of Prof. Michael P.

McDonald at 5, 11–12 (ECF No. 177-19); Opening Expert Report of Dr. Peter A.

Morrison ¶ 134 & tbl. 1 (ECF No. 177-35). Thus, of the new Sixth District’s roughly


                                             9
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 10 of 68



437,000 registered voters, 33% were registered as Republicans, 44% were registered as

Democrats, and 22% were registered as Unaffiliated. Joint Stipulations ¶ 53 & Ex. 19 at

2.   And, in the new Sixth District, Democratic candidate John Delaney defeated

Republican incumbent Bartlett by a 21% margin in the 2012 election. Id. ¶ 54. Delaney

was narrowly reelected in 2014 with a margin of 1.5% but then won the 2016 election by

a margin of 14%. Id. ¶ 55–56.

       The Eighth District, to which the State had shifted the bulk of the Sixth District’s

removed voters, continued to be a reliable seat for Democrats. Prior to redistricting,

registered Democratic voters outnumbered registered Republican voters in the Eighth

District by almost 3 to 1 — 58% were Democrats, 20% were Republicans, and 21% were

Unaffiliated. Joint Stipulations Ex. 2 at 2. After the redistricting, 51% of the registered

voters were Democrats, 27% were Republicans, and 21% were Unaffiliated. Id. Ex. 19 at

2. Thus, even though the number of registered Republicans in the Eighth District rose

significantly after the transfer of Republicans from the Sixth District, registered

Democrats still outnumbered registered Republicans by nearly 2 to 1.

       The record shows that this readjustment of the voter composition of the Sixth

District was specifically intended by Maryland Governor Martin O’Malley, a Democrat;

by the Maryland General Assembly, controlled by Democrats; and by the Democratic

members of Maryland’s congressional delegation to achieve a 7 to 1 Democratic majority

in Maryland’s delegation to the U.S. House of Representatives.

       As was the custom — and indeed the procedure specified by state law for

redrawing state legislative districts — Governor O’Malley took responsibility for creating

                                            10
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 11 of 68



the 2011 congressional redistricting plan and submitting it to the General Assembly as a

joint resolution for adoption.    See O’Malley Dep. 8, 10–11 (ECF No. 177–3). He

testified explicitly that he wanted to use the redistricting process to change the overall

composition of Maryland’s congressional delegation to 7 Democrats and 1 Republican by

flipping either the First District on the Eastern Shore of Maryland or the Sixth District in

western Maryland. See, e.g., id. at 22–28. He confirmed that he “set out to draw the

borders in a way that was favorable to the Democratic party.” Id. at 9–10. As he stated:

       [T]hose of us in leadership positions in our party, the Speaker, the Senate
       President, the Democratic Dean of the Delegation, myself, Lieutenant
       Governor, we all understood that, while our — while we must fulfill our
       responsibility on redistricting, must be mindful of constitutional guidelines,
       restrictions, case law, statutes, it was also — part of our intent was to create
       a map that was more favorable for Democrats over the next ten years and
       not less favorable to them. Yes, that was clearly one of our many [goals].

Id. at 81. After brief consideration, Governor O’Malley rejected the notion of flipping

the First District because the resulting district would have to jump across the Chesapeake

Bay. Id. at 24–27. Consequently, “a decision was made to go for the Sixth.” Id. at 27

(emphasis added).

       To carry out the process, Governor O’Malley appointed the Governor’s

Redistricting Advisory Committee as the public face of his effort, directing it to hold

public hearings and recommend a redistricting plan. But at the same time, he “asked

Congressman [Steny] Hoyer, as the dean of the [U.S.] House delegation,” to “lead the

effort . . . to inform the [Advisory Committee] about congressional redistricting” and

“come up with a map that a majority of the congressional delegation supports.”

O’Malley Dep. 47–48; see also Willis Dep. 185–88 (ECF No. 177-14). And the record

                                             11
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 12 of 68



shows that the work produced under the direction of the Democratic members of

Maryland’s congressional delegation — including data reflecting how citizens in discrete

areas of the State had voted in the past — played a central role in shaping the new Sixth

District. See, e.g., Miller Dep. 97 (ECF No. 177-15) (testifying that the map “primarily

was drawn by the congressional people”).

       Thus, while the Advisory Committee was holding public hearings across the State

— indeed, even before it began — the Democratic members of Maryland’s congressional

delegation, led by Representative Hoyer, who has described himself as a “serial

gerrymanderer,” ECF No. 191-3, began their work to redraw the State’s congressional

map.   Hoyer and other members of the delegation retained NCEC Services, Inc., a

political consulting firm that provides “electoral analysis, campaign strategy, political

targeting, and GIS [geographic information system] services” to Democratic

organizations. ECF No. 177-17; see also Hawkins Dep. 28–36 (ECF No. 177-4); ECF

No. 177-18.    NCEC was specifically charged with drawing a map that maximized

“incumbent protection” for Democrats and that changed the congressional delegation

from 6 Democrats and 2 Republicans to 7 Democrats and 1 Republican. It was given no

additional instruction as to how to draw the map. Hawkins Dep. 40–42, 47–49.

       The primary NCEC analyst assigned to the task, Eric Hawkins, analyzed various

congressional redistricting plans to inform the Democratic members of the Maryland

congressional delegation of how different options would change their districts, and he

personally prepared between 10 and 20 different draft congressional maps using a GIS

computer software program called Maptitude for Redistricting. Hawkins Dep. 36–38.

                                           12
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 13 of 68



Maptitude allows users to “[c]reate districts using any level of geography,” “[a]dd

political data and election results,” and “[u]pdate historic election results to new political

boundaries.” Joint Stipulations ¶ 28. With Maptitude, “data reflecting . . . citizens’

political party affiliations and voting histories[] can be used to determine how the

outcome of historical elections would have changed . . . if the proposed plan had been in

place in prior years,” id. ¶ 30, thus enabling users to predict accurately the likely outcome

of future elections.

       Hawkins specifically used a proprietary metric created by NCEC called the

Democratic Performance Index (“DPI”), which measures how a generic Democratic

candidate would likely perform in a particular district. See Hawkins Dep. 24, 110. As

Hawkins explained, the DPI considers how “statewide candidates perform over time in

competitive elections,” is “weighted differently for different election years,” and “take[s]

into account past voting history in a state or a district.” Id. at 24. The DPI thus

“indicate[s] competitiveness or lack thereof” for Democratic candidates and is based on

the principle that “observed party performance correlates with future party performance

more strongly than any other single measure.” ECF No. 191-7 at 1. It has proven quite

predictive in practice. For example, in the 2016 congressional election, U.S. House

Democratic candidates almost never won districts with a DPI below 50%, but won 92.5%

of districts where the DPI was above 50%. Id. at 2. NCEC also calculates separate

versions of the DPI specific to federal and state races — with the federal DPI “only

us[ing] federal races” and the state DPI “only us[ing] state races” — to better account for

“ticket splitting.” Hawkins Dep. 25–26.

                                             13
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 14 of 68



       Hawkins testified that he used the DPI to meet the dual “goals” given to NCEC —

namely, to draw a map that would maximize “incumbent protection” for the Democrats

currently representing Maryland districts in Congress and that would “chang[e] the make-

up of Maryland’s U.S. House delegation from six Democrats and two Republicans to

seven Democrats and one Republican.” Hawkins Dep. 40–42; see also id. at 47–49.

With respect to this 7-1 goal, Hawkins’ efforts focused on redrawing the Sixth District’s

lines to increase its federal DPI, id. at 102–03, which Hawkins calculated under the

preexisting map as standing at 37.4%, indicating low Democratic performance and

correspondingly strong Republican performance, id. at 88. Over the course of working

with Maryland’s Democratic congressional representatives and their staff, Hawkins

prepared several different maps under which the Sixth District would have had at least a

51% federal DPI. See, e.g., id. at 97, 157–61. In preparing these draft maps, Hawkins

considered neither “any measure of compactness,” id. at 126, nor whether “there was a

community of interest related to the I-270 corridor,” id. at 128. Rather, “[t]he intent was

to see if there was a way to get another Democratic district in the state.” Id. at 230.

       While maps were also proposed during this period by third-party entities, they

resulted in a far lower federal DPI for the Sixth District and were not used further. For

example, a map proposed by the Maryland Legislative Black Caucus would have resulted

in a federal DPI of 39% for the Sixth District and DPIs below 50% for 2 other districts,

ECF No. 177-34, a proposal a senior congressional staffer worried would be “a recipe for

5–3, not 7–1,” ECF No. 177-36.



                                             14
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 15 of 68



       Ultimately, the Democratic members of Maryland’s congressional delegation

proposed and forwarded to the state Democratic leadership at least one map prepared by

Hawkins. See, e.g., Weissmann Decl. ¶ 8 (ECF No. 186-11). Hawkins also traveled to

Annapolis to brief a number of state legislative staffers on the proposal, see Hawkins

Dep. 170–75, and assisted at least some of these staffers as they continued working on

the congressional map, see, e.g., ECF No. 191-6.

       The record reflects that a group of staffers to the State’s most senior Democratic

leaders, including the Governor, was “tasked with developing a plan . . . that would be

acceptable to the [Governor’s Redistricting Advisory Committee].” Weissmann Decl.

¶ 9; see also id. ¶ 7. Significantly, these senior staffers were given a data file containing

NCEC’s proprietary DPI information for Maryland at the precinct level — the smallest

geographic unit in Maryland (averaging around 3,000 people) at which election results

are reported. See id. ¶¶ 4–5. This data file was loaded onto a laptop used by the staffers

to generate maps, and this laptop also contained the Maptitude software and “party

registration data and voter turnout data,” including data at the census-block level — the

smallest geographic unit used by the U.S. Census Bureau. Id. ¶¶ 3–5. State Democratic

officials, through their staffers, thus continued to use the DPI — as well as other

information about how local groups of citizens had previously voted and the political

party with which they were affiliated — to finalize a map for the Advisory Committee

and ultimately the Governor.

       One of the staffers involved in this process testified that after the group received a

draft map that had been proposed by Maryland’s congressional delegation, the group

                                             15
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 16 of 68



made a series of changes to the map — chiefly, keeping Washington County intact in the

Sixth District; keeping the City of Frederick, but not its suburbs, intact in the Sixth

District; connecting the City of Frederick with a swath of Montgomery County by

orienting the Sixth District around the I-270 highway; and making adjustments so that the

Eighth District no longer went into Prince George’s County and the Fourth District no

longer went into Montgomery County. Weissmann Decl. ¶ 9. While the staffer did not

give testimony about whether the group aimed to carry out the Governor’s goal of

creating a 7-1 map, he did acknowledge that the group briefly considered creating a map

such that “eight Democratic and zero Republican congressional representatives could be

elected” from Maryland. Id. ¶ 12.

      Governor O’Malley appointed the Governor’s Redistricting Advisory Committee

as the public face of his mapdrawing efforts. He charged the committee with holding

public hearings around the State and recommending two redistricting plans for his

consideration — one for the State’s 8 congressional districts and the other for its 47

legislative districts. Joint Stipulations ¶ 18. The Governor selected Jeanne D. Hitchcock

— a Democrat with no prior redistricting experience, who was then the Appointments

Secretary in the Governor’s Office, see Hitchcock Dep. 45–46 (ECF No. 177-8) — to

chair the Committee, and he appointed four other individuals to be members of the

Committee: state Senate President Thomas V. Mike Miller, Jr.; state House of Delegates

Speaker Michael E. Busch; Richard Stewart, a businessman who had chaired the

Governor’s reelection campaign in Prince George’s County; and James J. King, a



                                           16
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 17 of 68



businessman from Anne Arundel County who had previously served in the House of

Delegates and who was the Committee’s sole Republican. Joint Stipulations ¶¶ 19–20.

       The Advisory Committee held 12 public hearings across the State from July

through September 2011 and received approximately 350 comments from members of

the public. Joint Stipulations ¶ 22. At hearings conducted in western Maryland, residents

provided suggestions regarding potential changes to the shape of the Sixth District.

Several of these residents testified about various connections between Frederick and

Montgomery Counties — including Interstate 270 (“I-270”), a 35-mile highway running

between the City of Frederick and southern Montgomery County — and advocated for

replacing the part of the Sixth District stretching east into Baltimore and Harford

Counties, and perhaps even some or all of Carroll County, with territory from

Montgomery County. But none of the speakers contemplated a map that would remove

from the Sixth District much of Frederick County itself, which had been included in its

entirety in the Sixth District since 1872. See, e.g., Public Hearing Testimony (ECF No.

186-3) at MCM 000029–31 (“[T]he start of the Sixth District is pretty easy, with Garrett,

Allegany, Washington, and Frederick, you’ve got a nucleus there . . . . [O]nce you start

with those four counties, . . . your orientation should be to go east into either Howard, or

go southeast into Montgomery Counties, to the greatest extent possible, and . . . leave

Harford, Baltimore, and even portions of Carroll for a Baltimore-oriented district”); id. at

MCM000038 (“[B]oth in terms of making it viable for someone to reach the voters, and

in terms of better representing the population, it would make more sense to re-orient the

district to include more of Montgomery County and less — and none of Harford and

                                            17
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 18 of 68



Baltimore and less of Carroll, as you put those communities in with the Baltimore County

area that they are naturally a part of”); id. at MCM 000048 (“Frederick County and the

counties west of Frederick have more in common with Montgomery County than they do

with Carroll, Baltimore, or Harford”).

      The Advisory Committee released its proposed congressional redistricting plan to

the public on October 4, 2011, with the Committee’s lone Republican casting the sole

vote against the plan. Joint Stipulations ¶ 32. The Committee’s map had a federal DPI of

53% in the Sixth District, which was greeted as “good news” by the man who was widely

expected to be the Democratic nominee to represent the newly redrawn District in the

upcoming 2012 election. ECF No. 177-25; see also Garagiola Dep. 27 (ECF No. 177-24)

(agreeing that, in his mind, “one of the purposes[] [was] to make the Sixth Congressional

District have [a] 53 percent Democratic performance”). As he succinctly explained at the

time, the Advisory Committee’s proposed Sixth District would include “[a]ll of

Washington, Alleg[a]ny, and Garrett [Counties]”; “southern Frederick [County] and the

City of Frederick”; and then “about 40% of Montgomery County, including northern and

western parts,” while “[t]he rest of Frederick would be in [the Eighth] district.” ECF No.

177-25.

      Members and staff of the Advisory Committee briefed a joint session of the state

House and Senate Democratic Caucuses about their recommended congressional plan on

October 3, 2011. Joint Stipulations ¶ 35. Talking points prepared for Senate President

Miller’s introductory remarks encouraged him to emphasize that “[e]ven though the map

isn’t pretty, it accomplishes a few important goals,” including “creat[ing] an opportunity

                                           18
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 19 of 68



for Montgomery County to control two congressional districts”; “preserv[ing] all six

incumbent Democrats in ‘safe’ districts,” none of which would have “less than 58%

Democratic performance”; and “giv[ing] Democrats a real opportunity to pick up a

seventh seat in the delegation by targeting Roscoe Bartlett.” ECF No. 177-23. The

talking points continued, “In the face of Republican gains in redistricting in other states

around the nation, we have a serious obligation to create this opportunity.” Id.

       Following Senate President Miller’s remarks, Chairwoman Jeanne Hitchcock

delivered a PowerPoint presentation that stated that the Sixth and Eighth Districts had

been “[c]onfigured to reflect the North-South connections between Montgomery County,

the I-270 Corridor, and western portions of the State.” Joint Stipulations, Ex. 6. The

record suggests that those in attendance were skeptical that the I-270 corridor justified

dramatically redrawing both the Sixth and the Eighth Districts.              For example,

immediately after Hitchcock’s presentation, Democratic Delegate Curt Anderson told a

reporter, “It reminded me of a weather woman standing in front of the map saying, ‘Here

comes a cold front,’ and in this case the cold front is going to be hitting Roscoe Bartlett

pretty hard.” Joint Stipulations ¶ 46. And, while listening to Hitchcock give a similar

presentation earlier in the day, one senior congressional aide who had been intimately

involved in the redistricting process wrote to another, “This is painful to watch. . . . I’m

not sure I buy the themes they are selling. Hopefully they have some better ones for the

public face of it.” ECF No. 177-58.

       On October 15, 2011, Governor O’Malley announced that he was submitting a

map to the General Assembly that was substantially the same as the Advisory

                                            19
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 20 of 68



Committee’s proposal, Joint Stipulations ¶ 33, and two days later, on October 17, Senate

President Miller introduced the Governor’s proposed redistricting map as Senate Bill 1 at

a special legislative session. With only minor technical amendments, Senate Bill 1 was

signed into law on October 20, 2011, three days after it had been introduced. Id. ¶ 34; see

Md. Code Ann., Elec. Law §§ 8-701–8-709. In the 2012 general election, Maryland

voters were asked whether they were “for” or “against” the law that “[e]stablishes the

boundaries for the State’s eight United States Congressional Districts based on recent

census figures, as required by the United States Constitution,” and 64% of voters who

responded to that question voted in favor of the law. Joint Stipulations ¶ 39.

       “No Republican Senator or Delegate voted for Senate Bill 1 in committee or on

the floor in recorded roll call votes.” Joint Stipulations ¶ 36. Moreover, while the

legislation was progressing rapidly through the General Assembly, numerous legislators

made comments reflecting their clear understanding that the massive redrawing of the

Sixth District was designed primarily to give the eventual Democratic nominee a distinct

electoral advantage over the Republican nominee. For example, one Delegate bluntly

stated in a floor speech that he supported the map because it meant “more Democrats in

the House of Representatives.” Id. ¶ 44. Another Delegate stated in an October 17

interview that, “What we’re doing is we are trying to get more, in terms of — currently

we have two Republican districts and six Democratic Congressional districts and we’re

going to try to move that down to seven and one, with the additional Congressional

district coming more out of Montgomery county and going into western Maryland that

would give the Democrats more.” Id. ¶ 47. One Democratic Senator who voted for the

                                            20
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 21 of 68



bill nonetheless lamented in a floor speech that partisan gerrymandering was a problem

across America, adding that “it’s a process where we dress up partisan and political

ambition on both sides of the aisle in high principle, but we can all tell what’s really

going on.” Joint Stipulations ¶ 43(a) (emphasis added). And the only Democratic

Senator to vote against the bill stated in an October 14 interview, “[W]hen you look at the

way these districts are drawn, they’re absolutely drawn with one thing in mind. . . . [I]t’s

certainly drawn so that you can minimize the voice of the Republicans.” ECF No. 177-41

at 16 (emphasis added).

       The result of the wholesale recomposition of the Sixth District was precisely as

intended and predicted. In October 2012, the Cook Political Report released an analysis

of “all 435 newly redrawn Congressional districts in the country” using its Partisan Voter

Index (“Cook PVI”), ECF No. 177-52 at 1, a well-respected “measurement of how

strongly a United States congressional district or state leans toward the Democratic or

Republican Party, compared to the nation as a whole,” ECF No. 177-51; see also

Lichtman Dep. 131 (ECF No. 177-49) (testimony of State’s expert witness that the Cook

PVI is a “well respected” and “well regarded” metric). Specifically, a Cook PVI of D+2

means that in the last two presidential elections, “that district performed an average of

two points more Democratic than the nation did as a whole.” ECF No. 177-52 at 9. In

addition to calculating PVIs, the Cook Report also assigns each congressional district a

label based on its assessment of the political parties’ electoral prospects.

       Using these metrics, the Cook Report examined “which districts underwent the

most dramatic alterations in redistricting” following the 2010 census and found that

                                              21
        Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 22 of 68



Maryland’s Sixth District experienced the single largest swing of any district in the

Nation. ECF No. 177-52 at 6–8. Specifically, before the 2011 redistricting, the Sixth

District had a Cook PVI of “R+13” and a “Solid Republican” label; after redistricting, the

District received a Cook PVI of “D+2” and a “Likely Democratic” label. Id. at 8. An

academic analysis that looked at the accuracy of the Cook Report’s forecasting over the

course of 11 congressional elections helps unpack the significance of this swing. When

the Cook Report has rated a district “Solid Republican” on the eve of a congressional

election, the Republican candidate has won the race 99.7% of the time; what is more,

when a district has been rated as “Likely Democratic,” the Democratic candidate has won

94% of the time. See James E. Campbell, The Seats in Trouble Forecast of the 2010

Elections to the U.S. House, 43 Pol. Sci. & Politics 627, 628 (2010) (ECF No. 191-8).

       Moreover, the Cook Report’s analysis of the effect of redistricting on the Sixth

District was consistent with NCEC’s own DPI data. According to NCEC, in the 2016

congressional election cycle, “Democrats [nationwide] won only four districts where DPI

was below 50 percent”; in none of those districts was the DPI below 40%, as it was in the

Sixth District prior to redistricting. ECF No. 191-7 at 1–2. Conversely, among the 160

districts across the country with a DPI above 50%, all but 12 were won by the

Democratic candidate. See id. Thus, given that the new Sixth District’s DPI was 53%,

NCEC’s data, like Cook’s, confirmed that the Democrats held a clear electoral advantage

in the District as a result of its redistricting.

       The record demonstrates further that, in addition to the reduced opportunity to

elect a candidate of their choice, the plaintiffs and other active members of Maryland’s

                                                    22
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 23 of 68



Republican Party faced new difficulties in their organizational efforts as a result of the

redistricting. For example, Plaintiff Sharon Strine — a registered Republican voter who

had consistently voted for Republican candidates — testified that until the 2011

redistricting plan reassigned her residence to the Eighth District, she had lived and voted

in the Sixth District ever since registering to vote on her 18th birthday in the early 1980s.

Strine Dep. 9–15 (ECF No. 177-53). Even though she no longer lived in the Sixth

District, she nonetheless worked for over a year on Sixth District Republican nominee

Dan Bongino’s 2014 congressional campaign, eventually serving as the campaign’s

manager. Id. at 8, 59, 61–62. She testified that over the course of the campaign —

“between festivals, knocking on doors, parades, anything you can imagine” — she spoke

to thousands of people in the Sixth District and that “every time we were out

[campaigning], we met somebody who said, it’s not worth voting anymore, every single

time. . . . [T]hey just [felt] disenfranchised that . . . they don’t have somebody that

represents them anymore . . . [a]fter the redistricting.” Id. at 61–63.

       Similarly, Plaintiff Alonnie L. Ropp — also a registered Republican voter who

had consistently voted for Republican candidates and whose residence was also

reassigned to the Eighth District — testified that, at the time of the 2014 congressional

election, she served on the Frederick County Republican Central Committee and played a

role in “promot[ing] all of our Republican candidates running in our geographic

territory.” Ropp Dep. 16–23, 33 (ECF No. 177-54). She described how, when she

engaged with potential voters in that capacity, she routinely spent a lot of the

conversation helping the voter figure out which congressional district the voter lived in,

                                             23
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 24 of 68



the Sixth or the Eighth. Id. at 34–38. As she stated, “[A] large percentage of folks, if

they had historically voted, they were confused about the candidates. They didn’t know

who they should be engaging. It was a very confusing situation for them that year.” Id.

at 37. She added that “we spent most of our time” trying to ascertain the voter’s district

and that, “by the time [we] [got] through 20 minutes of that conversation,” some people

“felt as though they didn’t want to participate that time because it seemed too confusing.”

Id. at 37–38.

       And Plaintiff Edmund Cueman — a longtime resident of Carroll County and

registered Republican voter whose residence was reassigned to the Eighth District —

described personally feeling “disoriented” by and “disconnected” from his new

congressional district: “[M]y feelings were that every time there’s a census, yeah, you

may have to make some adjustments. You can’t freeze it in time but this . . . was a chop

job. . . . I have absolutely no connection with what is in this district except the portions of

Frederick that were thrown in.” Cueman Dep. 11–16, 36–37 (ECF No. 177-55).

       Other record evidence corroborates these plaintiffs’ experiences, including

evidence showing that Sixth District registered Republican voters’ participation declined

in primary elections in midterm years — i.e., when congressional candidates topped the

federal ticket. For example, in Garrett County, 48% of registered Republican voters

participated in the 2010 Republican primary election, but that number fell to 35% in

2014; in Allegany County, there was a 43% turnout for the 2010 Republican primary, a

number that fell to 27% in 2014; and in Washington County, the percentage of



                                              24
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 25 of 68



Republicans participating in the primary fell from 37% in 2010 to 25% in 2014. ECF No.

191-11 at 3, 9–10.

       Similarly, the record shows a decline in fundraising by the Republican Central

Committees of the three counties that remained entirely within the Sixth District after the

2011 redistricting.   Specifically, in the 2014 filing period, the Republican Central

Committees for Garrett, Allegany, and Washington Counties received 6.5% less than in

the 2010 filing period, the prior midterm election year. ECF No. 210, Ex. C-8 to C-11.

Fundraising by these committees during presidential election years has suffered as well

— comparing the contributions received in the 2008 filing period with those received in

the 2012 filing period reveals a drop of 12%. Id.


                                            B

       Three Maryland citizens, acting pro se, commenced this action in November 2013,

naming as defendants the Chair and the Administrator of the State Board of Elections and

alleging that the 2011 redistricting plan violated their rights under the First Amendment

and Article I, § 2, of the U.S. Constitution. A district court judge granted the State’s

motion to dismiss, Benisek v. Mack, 11 F. Supp. 3d. 516 (D. Md. 2014), and the Fourth

Circuit summarily affirmed, 584 F. App’x 140 (4th Cir. 2014). The Supreme Court,

however, reversed that judgment in December 2015, concluding that the plaintiffs’

constitutional challenge was not “wholly insubstantial” and that therefore it had to be

decided by a district court composed of three judges, as required by 28 U.S.C. § 2284.

Shapiro v. McManus, 136 S. Ct. 450, 455–56 (2015) (quoting Bell v. Hood, 327 U.S. 678,


                                            25
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 26 of 68



682 (1946)). In doing so, the Court observed that the theory underlying the plaintiffs’

First Amendment claim had originally been suggested by Justice Kennedy in his

concurring opinion in Vieth v. Jubelirer, 541 U.S. 267 (2004), and was “uncontradicted

by the majority in any of [the Court’s] cases.” Shapiro, 136 S. Ct. at 456.

       On remand, the plaintiffs, then represented by counsel, promptly filed a second

amended complaint in February 2016 — roughly one week after this three-judge court

was empaneled. The amended complaint added six additional plaintiffs and refined the

theory underlying their constitutional challenge. Two of the original plaintiffs later

agreed to their dismissal from the action, leaving seven plaintiffs, all of whom are

registered Republicans who lived in the Sixth District prior to the 2011 redistricting.

Three of these plaintiffs still reside in the Sixth District, while four of them now live in

the Eighth District as a result of the redistricting.

       In an opinion issued August 24, 2016, we denied the State’s motion to dismiss,

concluding that the plaintiffs had adequately alleged a justiciable claim for relief.

Shapiro v. McManus, 203 F. Supp. 3d 579, 586, 600 (D. Md. 2016). Drawing on First

Amendment retaliation principles, we held that to succeed on their claim, the plaintiffs

would have to prove three elements: first, specific intent — “that those responsible for the

map redrew the lines of [their] district with the specific intent to impose a burden on

[them] and similarly situated citizens because of how they voted or the political party

with which they were affiliated”; second, injury — that the plaintiffs had, in fact,

experienced a concrete burden on their legally protected interests; and third, causation —

“that, absent the mapmakers’ intent to burden a particular group of voters by reason of

                                               26
        Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 27 of 68



their views, the concrete adverse impact would not have occurred.”           Id. at 596–97

(emphasis omitted).

        Following the completion of extensive discovery, the plaintiffs filed a motion for a

preliminary injunction in May 2017 to prevent the use of the challenged map during the

2018 elections. The plaintiffs’ motion alternatively sought summary judgment, and the

State subsequently filed a cross-motion for summary judgment. In August 2017, we

denied the plaintiffs’ motion for a preliminary injunction and stayed further proceedings

— including resolution of the parties’ cross-motions for summary judgment — for the

Supreme Court’s decision in Gill v. Whitford, 138 S. Ct. 1916 (2018). See Benisek v.

Lamone, 266 F. Supp. 3d 799 (D. Md. 2017). The Supreme Court affirmed our denial of

the plaintiffs’ motion for a preliminary injunction in June 2018, Benisek v. Lamone, 138

S. Ct. 1942, 1943–45 (2018), and, on remand, the parties agreed not to reopen discovery.

They did, however, file supplemental summary judgment memoranda, and we conducted

a lengthy hearing on the parties’ cross-motions for summary judgment on October 4,

2018.


                   II. LEGAL PRINCIPLES OF THE DISTRICTING PROCESS

        The process of creating districts from which members of the U.S. House of

Representatives are elected is rooted in the authority granted by the U.S. Constitution to

both state legislatures and Congress — political departments of the respective

governments.     In establishing the U.S. House of Representatives, the Constitution

provides that “[t]he House of Representatives shall be composed of Members chosen


                                             27
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 28 of 68



every second Year by the People of the several States,” U.S. Const. art. I, § 2, cl. 1, and

further that “[t]he Times, Places and Manner of holding Elections for . . .

Representatives, shall be prescribed in each State by the Legislature thereof,” id. § 4,

cl. 1. Article I thus “leaves with the States primary responsibility for apportionment of

their federal congressional . . . districts.” Growe v. Emison, 507 U.S. 25, 34 (1993).

       While Maryland has enacted no law codifying procedures for discharging the

responsibilities conferred on it by Article I, § 4, it has codified procedures for redrawing

the lines of state legislative districts following each decennial census. The Maryland

Constitution, Article III, § 5, provides:

       Following each decennial census of the United States and after public
       hearings, the Governor shall prepare a plan setting forth the boundaries of
       the legislative districts for electing the members of the Senate and the
       House of Delegates.

       The Governor shall present the plan to the President of the Senate and the
       Speaker of the House of Delegates who shall introduce the Governor’s plan
       as a joint resolution to the General Assembly. . . . [The] plan shall conform
       to Sections 2, 3, and 4 of this Article.

And Section 4, in particular, requires that each legislative district “consist of adjoining

territory, be compact in form, and of substantially equal population. Due regard shall be

given to natural boundaries and the boundaries of political subdivisions.” Id. § 4. The

Maryland Constitution provides further that if the General Assembly fails to adopt the

Governor’s plan, that plan “shall become law.”         Id. § 5.    The Maryland General

Assembly implemented a state legislative district plan pursuant to these provisions

following the 2010 census. See Md. Code Ann., State Gov. § 2-201 et seq.



                                            28
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 29 of 68



       With no law codifying the congressional redistricting procedure, Maryland has, by

custom, substantially followed the procedure set forth in the Maryland Constitution for

adopting state legislative districts. Thus, following each decennial census, the Maryland

Governor takes charge of congressional redistricting by holding advisory hearings and

creating a redistricting plan, which he then submits to the General Assembly as a joint

resolution for adoption. And that process was followed after the 2010 census. The

process, however, did not incorporate the restrictions contained in the Maryland

Constitution, Article III, § 4, that provide for contiguity, compactness, regard for natural

boundaries, and regard for boundaries of political subdivisions.

       While Article I of the U.S. Constitution gives the States primary responsibility for

the apportionment of federal congressional districts, it also reserves to Congress the

power to override decisions made by the States.        Article I, § 4, provides that “the

Congress may at any time by Law make or alter such [state] Regulations” pertaining to

the election of federal representatives. U.S. Const., art. I, § 4, cl. 1. And over the years

Congress has exercised that authority in various ways. In 1842, it required that members

of the House of Representatives be elected from single-member districts composed of

contiguous territory. Apportionment Act of 1842, ch. 47, 5 Stat. 491. In 1872, it

required further that districts contain, “as nearly as practicable[,] an equal number of

inhabitants.” Apportionment Act of 1872, ch. 11, § 2, 17 Stat. 28. In 1901, it added a

compactness requirement. Apportionment Act of 1901, ch. 93, § 3, 31 Stat. 733, 734. In

1911, it again imposed requirements of contiguity, compactness, and equality of

population. Apportionment Act of 1911, ch. 5, § 3, 37 Stat. 13, 14. But as it stands

                                            29
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 30 of 68



today, Congress only requires that the States create single-member districts. See 2 U.S.C.

§ 2c. The single-member-district requirement “produce[s] a different . . . result than

would be reached with elections at large, in which the winning party would take 100% of

the legislative seats.” Gaffney v. Cummings, 412 U.S. 735, 753 (1973). Thus, while the

single-member-district requirement effects a more democratic result, it is this

requirement that gives rise to apportionment disputes and gerrymandering.

       As the Supreme Court has observed, “[i]t is not only obvious, but absolutely

unavoidable, that the location and shape of districts may well determine the political

complexion of the area.” Gaffney, 412 U.S. at 753. And those state officials charged

with redistricting will of course “recognize the political consequences of drawing a

district line along one street rather than another.” Id. The practical “reality is that

districting inevitably has and is intended to have substantial political consequences.” Id.;

see also Vieth, 541 U.S. at 285 (plurality opinion) (“The Constitution clearly

contemplates districting by political entities, see Art. I, § 4, and unsurprisingly that turns

out to be root-and-branch a matter of politics”). Thus, because the Constitution commits

district apportionment to political departments, it is quintessentially a political process,

and courts cannot invalidate a redistricting map merely because its drafters took political

considerations into account in some manner. See Gaffney, 412 U.S. at 752–53.

       Nonetheless, when political considerations are taken into account to an extreme,

the public perceives an abuse of the democratic process without fully understanding how

it can be resolved within the existing structure. Indeed, partisan gerrymandering, as it is



                                             30
        Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 31 of 68



called, is widely considered to be repugnant to representative democracy. As stated

earlier in this case:

       The widespread nature of gerrymandering in modern politics is matched by
       the almost universal absence of those who will defend its negative effect on
       our democracy. Indeed, both Democrats and Republicans have decried it
       when wielded by their opponents but nonetheless continue to gerrymander
       in their own self interest when given the opportunity. The problem is
       cancerous, undermining the fundamental tenets of our form of democracy.

Benisek v. Lamone, 266 F. Supp. 3d at 818 (Niemeyer, J., dissenting); see also Shapiro,

203 F. Supp. 3d at 600 (Bredar, J., dissenting) (noting that gerrymandering is a “noxious”

practice with “no place in a representative democracy”). Moreover, the Supreme Court,

with no disagreement from any Justice, has concluded repeatedly that severe partisan

gerrymandering is incompatible with democratic principles, see, e.g., Vieth, 541 U.S. at

292 (plurality opinion), as it threatens “the core principle of republican government” —

“that the voters should choose their representatives, not the other way around,” Ariz. State

Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2677 (2015) (internal

quotation marks and citation omitted).

       Consistent with these concerns, in an earlier case addressing alleged racial

discrimination with respect to the same 2011 redistricting plan, we noted that the shape of

Maryland’s Third Congressional District resembled a “broken-winged pterodactyl lying

prostrate across the center of the State.” Fletcher v. Lamone, 831 F. Supp. 2d 887, 902

n.5 (D. Md. 2011) (Niemeyer, J.). And, to be sure, that pterodactyl still lies there,

broken-winged. Yet, any effort to address misshapen districts simply based on shape

would likely stray beyond the province of the courts. We thus begin with the recognition


                                            31
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 32 of 68



that reviewing the political activity giving rise to the 2011 redistricting law ordinarily is

not a role conferred on the courts.

       But, even as we recognize that the districting process is largely political in nature,

we also understand that state officials are always limited by specific provisions of the

U.S. Constitution. Cf. Rutan v. Republican Party of Ill., 497 U.S. 62, 64 (1990) (“To the

victor belong only those spoils that may be constitutionally obtained” (emphasis added)).

And when state officials violate specific provisions of the Constitution in carrying out

their districting responsibilities, courts must not hesitate to fulfill their constitutionally

assigned role. As the Supreme Court has stated, the political nature of redistricting does

not “immunize state congressional apportionment laws which debase a citizen’s right to

vote from the power of courts to protect the constitutional rights of individuals from

legislative destruction, a power recognized at least since our decision in Marbury v.

Madison. . . . The right to vote is too important in our free society to be stripped of

judicial protection . . . .” Wesberry v. Sanders, 376 U.S. 1, 6–7 (1964) (citations

omitted).

       In this vein, the Supreme Court has over the years applied specific constitutional

provisions to regulate particular apportionment plans. In Baker v. Carr, 369 U.S. 186

(1962), the Court held justiciable a claim alleging that a state legislative map establishing

districts with unequal populations violated the Equal Protection Clause. Similarly, in

Wesberry, the Court held that Article I, § 2’s provision for the election of representatives

“by the People” meant that “one man’s vote in a congressional election is to be worth as

much as another’s,” 376 U.S. at 7–8, so that today congressional districts must be drawn

                                             32
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 33 of 68



“with populations as close to perfect equality as possible,” Evenwel v. Abbott, 136 S. Ct.

1120, 1124 (2016).

       The Court has also held that racial discrimination in the districting process violates

the Equal Protection Clause, see Miller v. Johnson, 515 U.S. 900, 916 (1995); Shaw v.

Reno, 509 U.S. 630 (1993), and has approved remedial redistricting in cases of racial

gerrymandering, see, e.g., North Carolina v. Covington, 138 S. Ct. 2548, 2554 (2018)

(per curiam).

       And in Davis v. Bandemer, 478 U.S. 109 (1986), the Court recognized that

diluting the votes of one political party’s members in the districting process could violate

the Equal Protection Clause. But establishing a standard under the Equal Protection

Clause to give effect to Bandemer’s conclusion has proven elusive for the Court. See

Gill, 138 S. Ct. at 1926–29 (describing the Court’s efforts over the years in Gaffney,

Bandemer, Vieth, and League of United Latin American Citizens v. Perry, 548 U.S. 399

(2006), to articulate a standard). Nonetheless, when a districting plan, even though the

product of a political process, is alleged to have injured those before the court in violation

of a specific provision of the Constitution, the court must exercise its role by applying the

standards attending the constitutional right at issue.

       In this case, we have concluded that the plaintiffs’ claims state a viable cause of

action in alleging that Maryland’s 2011 redistricting plan violated the First Amendment

by burdening their representational and associational rights based on their party

affiliation and voting history. See Shapiro, 203 F. Supp. 3d 579. To be sure, the

Supreme Court has not directly addressed allegations that a redistricting plan has violated

                                              33
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 34 of 68



the First Amendment, but it has indicated clearly that such a challenge is not precluded

by its decisions or by the Constitution.      See Vieth, 541 U.S. at 315 (Kennedy, J.,

concurring in the judgment) (“If a court were to find that a State did impose burdens and

restrictions on groups or persons by reason of their views, there would likely be a First

Amendment violation, unless the State show[ed] some compelling interest”); id. (“The

First Amendment may offer a sounder and more prudential basis for intervention than

does the Equal Protection Clause. . . . The First Amendment analysis concentrates on

whether the legislation burdens the representational rights of the complaining party’s

voters for reasons of ideology, beliefs, or political association”); Shapiro, 136 S. Ct. at

456 (noting that the plaintiffs’ legal theory in this case — which is premised on the First

Amendment rather than the Equal Protection Clause — is “uncontradicted by the

majority in any of [the Court’s] cases”); see also Gill, 138 S. Ct. at 1938 (Kagan, J.,

concurring) (recognizing that “partisan gerrymanders may infringe the First Amendment

rights of association held by parties, political organization, and their members”). As

Justice Kennedy explained, “After all, . . . allegations [of unconstitutional partisan

gerrymandering] involve the First Amendment interest of not burdening or penalizing

citizens because of their participation in the electoral process, their voting history, their

association with a political party, or their expression of political views.” Vieth, 541 U.S.

at 314 (Kennedy, J., concurring in the judgment). Relying on decisions such as Elrod v.

Burns, 427 U.S. 347 (1976), and California Democratic Party v. Jones, 530 U.S. 567

(2000), he stated:



                                             34
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 35 of 68



       As these precedents show, First Amendment concerns arise where a State
       enacts a law that has the purpose and effect of subjecting a group of voters
       or their party to disfavored treatment by reason of their views. In the
       context of partisan gerrymandering, that means that First Amendment
       concerns arise where an apportionment has the purpose and effect of
       burdening a group of voters’ representational rights.

541 U.S. at 314. The plaintiffs in this case make these very allegations, contending that

the partisan gerrymander effected by Maryland’s 2011 congressional redistricting plan

injured both their representational rights and their associational rights by reason of their

political views, in violation of the First Amendment.


                               III. REPRESENTATIONAL RIGHTS

       It is fundamental that “the Constitution of the United States protects the right of all

qualified citizens to vote,” Reynolds v. Sims, 377 U.S. 533, 554 (1964), and that a

citizen’s right to vote is “individual and personal in nature,” id. at 561. Indeed, “the right

of qualified voters, regardless of their political persuasion, to cast their votes effectively

. . . rank[s] among our most precious freedoms.” Williams v. Rhodes, 393 U.S. 23, 30

(1968) (emphasis added). Expounding on the significance of this representational right,

the Supreme Court has explained:

       [R]epresentative government is in essence self-government through the
       medium of elected representatives of the people, and each and every citizen
       has an inalienable right to full and effective participation in th[is] political
       process[] . . . . Most citizens can achieve this participation only as qualified
       voters through the election of legislators to represent them. Full and
       effective participation by all citizens . . . requires, therefore, that each
       citizen have an equally effective voice in the election of [a representative].

Reynolds, 377 U.S. at 565 (emphasis added).



                                             35
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 36 of 68



       Based on these foundational principles, the Supreme Court has long recognized

that the Constitution prohibits States from drawing legislative districts with unequal

populations — for “[i]f districts of widely unequal population elect an equal number of

representatives, the voting power of each citizen in the larger constituencies is debased

and the citizens in those districts have a smaller share of representation than do those in

the smaller districts.” Bd. of Estimate of N.Y.C. v. Morris, 489 U.S. 688, 693–94 (1989).

Indeed, when a State discharges its constitutionally conferred duty to create congressional

districts, it must draw “districts with populations as close to perfect equality as possible.”

Evenwel, 136 S. Ct. at 1124.

       While a State can thus literally contract the value of a citizen’s vote by placing the

citizen in an overpopulated district, it can similarly contract the value of a citizen’s vote

by placing the citizen in a district where the citizen’s political party makes up a smaller

share of the electorate, thereby reducing the citizen’s chance to help elect a candidate of

choice. Cf. Moore v. Ogilvie, 394 U.S. 814, 819 (1969) (“The idea that one group can be

granted greater voting strength than another is hostile to the one man, one vote basis of

our representative government”).

       To be sure, citizens have no constitutional right to be assigned to a district that is

likely to elect a representative that shares their views. But they do have a right under the

First Amendment not to have the value of their vote diminished because of the political

views they have expressed through their party affiliation and voting history. Put simply,

partisan vote dilution, when intentionally imposed, involves the State penalizing voters

for expressing a viewpoint while, at the same time, rewarding voters for expressing the

                                             36
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 37 of 68



opposite viewpoint. This targeting of a citizen’s viewpoint is typical of First Amendment

violations in other contexts. See Rosenberger v. Rector & Visitors of Univ. of Va., 515

U.S. 819, 829 (1995) (“When the government targets . . . particular views taken by

speakers on a subject, the violation of the First Amendment is all the more blatant”); Bd.

of Educ. v. Pico, 457 U.S. 853, 870–71 (1982) (“If a Democratic school board, motivated

by party affiliation, ordered the removal of all books written by or in favor of

Republicans, few would doubt that the order violated the constitutional rights of the

students denied access to those books”). As the Supreme Court has explained, “[E]ven

though a person has no right to a valuable governmental benefit and even though the

government may deny him the benefit for any number of reasons, there are some reasons

upon which the government may not rely,” chief among them, a person’s political

viewpoint, as expressed in his party affiliation and voting history. Rutan, 497 U.S. at 72

(internal quotation marks and citation omitted).

       Applying traditional First Amendment jurisprudence to government action in

redistricting, we previously held in this case that a plaintiff states a claim under the First

Amendment when he demonstrates (1) that “those responsible for [a redistricting] map

redrew the lines of his district with the specific intent to impose a burden on him and

similarly situated citizens because of how they voted or the political party with which

they were affiliated,” (2) that “the challenged map diluted the votes of the targeted

citizens to such a degree that it resulted in a tangible and concrete adverse effect,” and

(3) that “the mapmakers’ intent to burden a particular group of voters by reason of their

views” was a but-for cause of the “adverse impact.” Shapiro, 203 F. Supp. 3d at 596–97.

                                             37
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 38 of 68



When the plaintiff makes a sufficient showing of these requirements, “the State can still

avoid liability by showing that its redistricting legislation was narrowly tailored to

achieve a compelling government interest.” Id. at 597.

       Before turning to address the merits, however, we address the threshold argument

raised by the State that the “[p]laintiffs here have failed to produce evidence sufficient to

establish that they suffered legally cognizable individual harm,” as necessary to satisfy

the injury-in-fact component of Article III standing.


                                               A

       Consistent with Article III of the Constitution, which limits the jurisdiction of

federal courts to “Cases” and “Controversies,” courts must “exercise power that is

judicial in nature,” rather than “serv[ing] as a forum for generalized grievances.” Lance

v. Coffman, 549 U.S. 437, 439, 441 (2007). As such, “a plaintiff may not invoke federal-

court jurisdiction unless he can show ‘a personal stake in the outcome of the

controversy,’” Gill, 138 S. Ct. at 1929 (quoting Baker, 369 U.S. at 204), which he does

by “satisfy[ing] the familiar three-part test for Article III standing: that he ‘(1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision,’” id. (quoting Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016)). “Foremost among these requirements is

injury in fact — a plaintiff’s pleading and proof that he has suffered the ‘invasion of a

legally protected interest’ that is ‘concrete and particularized,’ i.e., which ‘affect[s] the

plaintiff in a personal and individual way.’” Id. (quoting Lujan v. Defenders of Wildlife,


                                              38
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 39 of 68



504 U.S. 555, 560 & n.1 (1992)). The “irreducible constitutional minimum of standing”

is “not [a] mere pleading requirement[] but rather an indispensable part of the plaintiff’s

case,” which “must be supported in the same way as any other matter on which the

plaintiff bears the burden of proof . . . at the successive stages of the litigation.” Lujan,

504 U.S. at 560–61.

       The Supreme Court applied these principles specifically to the context of a

partisan gerrymandering claim premised on vote dilution in Gill v. Whitford. In Gill, a

group of Democratic voters from Wisconsin filed a complaint challenging the 2011

redistricting plan for that State’s legislature, alleging that the plan constituted an

unconstitutional partisan gerrymander that “unfairly favor[ed] Republican voters and

candidates” by “cracking” and “packing” Democratic voters throughout the State. 138

S. Ct. at 1923–24 (internal quotation marks omitted).        Several of the Gill plaintiffs

alleged that they lived in districts where Democrats had been cracked or packed, and all

of them alleged that, regardless of whether they personally lived in such a district, they

had been harmed because the manipulation of district boundaries across the State affected

the legislature’s overall composition. Id. at 1924. The case proceeded to trial, where the

plaintiffs focused on their theory of statewide injury rather than offering proof that any of

their particular districts had been cracked or packed. Id. at 1932.

       On appeal, the Supreme Court vacated the district court’s judgment in favor of the

plaintiffs and remanded for further proceedings, holding that the plaintiffs had failed to

show “standing under the theory upon which they based their claims for relief.” Gill, 138

S. Ct. at 1929. The Court explained that because “a person’s right to vote is ‘individual

                                             39
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 40 of 68



and personal in nature,’” id. (quoting Reynolds, 377 U.S. at 561), “‘voters who allege

facts showing disadvantage to themselves as individuals have standing to sue’ to remedy

that disadvantage,” id. (quoting Baker, 369 U.S. at 206). The Gill plaintiffs did allege

“that they suffered such injury from partisan gerrymandering, which works through

‘packing’ and ‘cracking’ voters of one party to disadvantage those voters.” Id. at 1930.

But the Court explained, “[t]o the extent the plaintiffs’ alleged harm [was] the dilution of

their votes, that injury [was] district specific” because the voter “votes for a single

representative.” Id. (emphasis added). As a result, it is “the boundaries of the particular

district in which [a voter] resides” — “and the composition of its voters” — that

determine whether and to what extent that voter has been “‘disadvantage[d] . . . as an

individual.’” Id. (brackets omitted) (quoting Baker, 369 U.S. at 206). The Court noted

that the remedy for such partisan gerrymandering “lies in the revision of the boundaries

of the individual’s own district.” Id. In sum, the voter alleging a dilution violation in his

district has standing to sue for that violation.

       But the Court rejected the plaintiffs’ theory of a “statewide harm to their interest

‘in their collective representation in the legislature,’” reasoning that “[a] citizen’s interest

in the overall composition of the legislature is embodied in his right to vote for his

representative” and that “the harm asserted by the plaintiffs is best understood as arising

from a burden on those plaintiffs’ own votes,” which in turn “arises through a voter’s

placement in a ‘cracked’ or ‘packed’ district.” Gill, 138 S. Ct. at 1931 (emphasis added).

Because the plaintiffs did not seek to show the requisite harm “that he or she live[d] in a

cracked or packed district” but proceeded “on their theory of statewide injury,” the Court

                                               40
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 41 of 68



concluded that the plaintiffs had failed to demonstrate Article III standing. Id. at 1932.

But “in light of the plaintiffs’ allegations that [certain of them] live[d] in districts where

Democrats like them have been packed or cracked,” the Court “decline[d] to direct

dismissal” and instead “remand[ed] the case to the District Court so that the plaintiffs

[might] have an opportunity to prove concrete and particularized injuries using evidence

. . . that would tend to demonstrate a burden on their individual votes.” Id. at 1934.

       The plaintiffs in this case, unlike the plaintiffs in Gill, have brought and pursued

the kind of single-district challenge that Gill recognized as providing such plaintiffs with

standing. Here, all seven plaintiffs are registered Republicans who lived in Maryland’s

Sixth District prior to the 2011 redistricting plan. Three still live in the Sixth District,

while the other four were moved to the neighboring Eighth District. And ever since the

filing of their Second Amended Complaint, their theory of the case has been that those

responsible for the redistricting plan intentionally and successfully “cracked” the

formerly Republican Sixth District by removing many of the precincts that had

historically supported Republican candidates and replacing them with overwhelmingly

Democratic precincts.

       After Gill, it is clear that if the plaintiffs show, as they have alleged, that the State

deliberately acted to flip the former Sixth District from one very likely to elect the

Republican candidate for Congress to one quite likely to elect the Democrat, they will

have established that the State made it materially harder for them to play a role in electing

a candidate of choice. They would, in short, establish a “disadvantage to themselves” in



                                              41
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 42 of 68



their capacity as individual voters and their “‘standing to sue’ to remedy that

disadvantage.” Gill, 138 S. Ct. at 1929 (quoting Baker, 369 U.S. at 206).


                                             B

       Turning to the merits, we conclude, based on the summary judgment record, that

the plaintiffs have sufficiently established each element of their First Amendment claim

that their representational rights have been impermissibly burdened by reason of their

political views and voting history. Relying on undisputed facts, the plaintiffs have shown

that they are “entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

       First, with respect to the mapmakers’ intent, the process described in the record

admits of no doubt. Maryland Democratic officials worked to establish Maryland’s

congressional district boundaries in 2011 with a narrow focus on diluting the votes of

Republicans in the Sixth Congressional District in an attempt to ensure the election of an

additional Democratic representative in the State’s congressional delegation. Governor

O’Malley, who was responsible for the redistricting process, asked Congressman Hoyer

to lead the redistricting effort, and Hoyer retained NCEC to draw up district maps that

(1) protected Democratic incumbents and (2) flipped the Sixth District from Republican

to Democratic control. Hawkins, an NCEC analyst, followed those two commands and

prepared district maps using NCEC’s proprietary DPI metric to assess the likelihood that

a district would elect a Democratic candidate. He homed in on maps where the data

predicted a Democratic victory in the Sixth District, unlike maps submitted by third

parties, which had sub-50% DPI values for the Sixth District. Hawkins submitted maps


                                            42
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 43 of 68



to the Democratic members of Maryland’s congressional delegation, at least one of which

the delegation passed on to Maryland Democratic officials who were members of the

Governor’s Redistricting Advisory Committee. Moreover, the underlying precinct-level

DPI data were shared with the officials’ staffers, who then used that information, along

with State data on party registration and voter turnout, to develop a final map with a 53%

DPI for the Sixth District, which the Governor submitted to the General Assembly and

the General Assembly promptly adopted. Reliance on the DPI in finalizing a map was

essential to achieving the specific intent to flip the Sixth District from safely Republican

to likely Democratic.

       Moreover, the record is replete with direct evidence of this precise purpose. For

example, notes prepared for state Senate President Miller’s remarks to the state House

and Senate Democratic Caucuses about the redistricting plan emphasized that the map

“create[d] an opportunity for Montgomery County to control two congressional districts”;

“preserve[d] all six incumbent Democrats in ‘safe’ districts,” none of which would have

“less than 58% [DPI]”; and “g[ave] Democrats a real opportunity to pick up a seventh

seat in the delegation by targeting Roscoe Bartlett.”       ECF No. 177-23.       Governor

O’Malley admitted that he intended to “create a district where the people would be more

likely to elect a Democrat than a Republican.” O’Malley Dep. 82; see also id. at 27–28

(describing aim of “put[ting] more Democrats and Independents into the Sixth District”

to help ensure “the election of another Democrat”). Senate Majority Leader Garagiola

admitted that “one of the purposes[] [was] to make the Sixth Congressional District have

53 percent Democratic performance.” Garagiola Dep. 16, 27. These sorts of statements,

                                            43
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 44 of 68



particularly by delegates and state senators during the General Assembly’s abbreviated

consideration of the proposed map, are legion. See, e.g., Joint Stipulations ¶¶ 40–51.

       The State’s argument that its officials intended only “to allow Democrats to have

an equally effective voice in the election of a representative” in the Sixth District — an

intent that it argues “cannot be equated with an intent to burden [Republicans’]

representational rights” — rings hollow. Even if the intent to make one party “more

competitive” were constitutionally permissible, the record shows something materially

different. Democratic officials, with the help of NCEC, worked to craft a map that would

specifically transform the Sixth District into one that would predictably elect a Democrat

by removing Republicans from the District and adding Democrats in their place.

       Moreover, the State’s argument fails to appreciate the requirements of the law. If

the government uses partisan registration and voting data purposefully to draw a district

that disfavors one party, it cannot escape liability by recharacterizing its actions as

intended to favor the other party. The First Amendment does not — indeed, cannot —

distinguish between these intents because they are one and the same when applicable to

two-party elections. It is impossible to flip a seat to the Democrats without flipping it

away from the Republicans. Thus, when the government targets a class of persons based

on the persons’ political affiliation and voting and then acts so as to burden their

representational rights, it has run afoul of the First Amendment, no matter how it

characterizes its intent.

       The State also argues that its officials did not act with impermissible intent

because they did not target specific voters based on their individual party affiliation or

                                            44
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 45 of 68



voting history. This argument, too, is based on a misunderstanding of First Amendment

jurisprudence. Here, the plaintiffs have shown that they were targeted for disfavored

treatment because of a shared marker of political belief — their Republican Party

affiliation. The fact that the State intentionally moved Republican voters out of the Sixth

District en masse, based on precinct-level data, and did not examine each individual

voter’s history does not make its action permissible under the First Amendment. Cf.

Miller, 515 U.S. at 920 (condemning State’s targeting of areas with “dense majority-

black populations” for inclusion in district).

       At bottom, given the overwhelming direct and circumstantial evidence, there can

be no doubt that at every stage of the process, the State’s Democratic officials who put

the 2011 redistricting plan in place specifically intended to flip control of the Sixth

District from Republicans to Democrats and then acted on that intent. The plaintiffs have

amply established the intent element of their claim.

       Second, with respect to the injury element, the plaintiffs have shown that the

redrawn Sixth District did, in fact, meaningfully burden their representational rights. At

the threshold, it is important to reiterate that, under the standard set forth in our denial of

the State’s motion to dismiss, a plaintiff who has shown that the State acted with

impermissible retaliatory intent need not show that the linedrawing altered the outcome

of an election — though such a showing would certainly be relevant evidence of the

extent of the injury. See Shapiro, 203 F. Supp. 3d at 598. And, contrary to the State’s

argument, the plaintiffs need not show that the new Sixth District was certain to produce

a Democratic congressman to establish injury to their rights as voters. Indeed, it would

                                                 45
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 46 of 68



only be a “perfect” gerrymander where “a voter [who] lives in a cracked district” stands

“no chance” of having her preferred candidate prevail. Gill, 138 S. Ct. at 1936 (Kagan,

J., concurring) (emphasis added).      Rather, the plaintiffs must show only that their

electoral effectiveness — i.e., their opportunity to elect a candidate of choice — was

meaningfully burdened, and, of course, that this burden was intentionally imposed for

partisan reasons. That is, the plaintiffs must have experienced a “demonstrable and

concrete adverse effect” on their “right to have ‘an equally effective voice in the election’

of a representative,’” which they can establish by showing that they have been placed at a

concrete electoral disadvantage. Shapiro, 203 F. Supp. 3d at 598 (quoting Reynolds, 377

U.S. at 565).

       The plaintiffs here have made that showing. By several measures, the dramatic

redrawing of the Sixth District’s boundaries disfavored Republican voters. In creating

the map, the State, on net, removed roughly 66,000 registered Republicans from the Sixth

District and added some 24,000 registered Democrats, such that Republican voters went

from outnumbering Democrats 1.3 to 1 (47% of the District’s registered eligible voters

being Republicans and 36% Democrats) to nearly the exact inverse (44% Democrats,

33% Republicans). Joint Stipulations ¶¶ 10, 53. According to the DPI metric used by the

mapmakers themselves, as well as the Cook PVI metric endorsed by the State’s expert,

Republican voters in the new Sixth District were, in relative terms, much less likely to

elect their preferred candidate than before the 2011 redistricting, and, in absolute terms,

they had no real chance of doing so. Indeed, the Cook report deemed the district’s swing

— from R+13 and “Solid Republican” to D+2 and “Likely Democratic” — the largest of

                                             46
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 47 of 68



any district in the country.     ECF No. 177-52 at 6–8.         And, historically, “Likely

Democratic” districts elect a Democrat 94% of the time. See Campbell, supra, at 628.

       Moreover, while the State’s linedrawing need not have changed the outcome of an

election to be culpable, the fact that the Democratic candidate was elected in the three

elections following the 2011 redistricting provides additional evidence that the

Republican voters have suffered a cognizable injury. In other words, the Democratic

officials who drew the map achieved exactly what they aimed to do — to make

Republican voters in the Sixth District less effective.

       Finally, as to causation, the plaintiffs have established that, without the State’s

retaliatory intent, the Sixth District’s boundaries would not have been drawn to dilute the

electoral power of Republican voters nearly to the same extent.

       The 2010 census required shifting only a small number of residents — 10,186 —

from a district consisting of over 720,000 residents. While adjustments to other districts

to achieve equal population or other legitimate goals might also have resulted in some

additional adjustments to the Sixth District, the record shows no legitimate basis for the

wholesale removal of 360,000 residents in the northern, more Republican portion of the

Sixth District and their replacement with 350,000 residents from Montgomery County, a

heavily Democratic area.      To the contrary, the record conclusively shows that an

illegitimate basis — the intent to flip party control — dictated the decision to so radically

reshape the Sixth District.

       All of these facts were consistent with the actual intent expressed by those

responsible for the 2011 redistricting plan. Thus, the causal link between the State’s

                                             47
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 48 of 68



intent and the harm to the targeted voters’ representational rights could not be clearer. In

short, the record refutes the conclusion that the actions were taken for any other reason

than to carry out the specific intent expressed.

       The State suggests that other causes were involved, but it fails to explain how the

other causes gave rise to the massive shifts of population and the specific targeting of

Republicans. It notes, for example, that the need to prevent the new First District from

crossing the Chesapeake Bay gave rise to extending the First District around the northern

part of the State, effectively requiring that the eastern boundary of the Sixth District be

moved westward.       Even accepting this suggestion — and, indeed, other similar

adjustments to accommodate precise populations and other legitimate redistricting goals

— none explains the dramatic exchange of populations between the Sixth and Eighth

Districts. Moreover, the State’s suggestions do not explain the undisputed fact that

virtually all the Democratic officials involved stated that the redistricting operation was

guided by the expressed plan to protect existing Democratic seats and flip the Sixth

District from Republican to Democratic control.

       The State separately suggests that there was an expressed interest in grouping

residents along the Interstate 270 corridor in one district. As for this argument, however,

there is no evidence that the presence of an interstate highway running from the City of

Frederick to southern Montgomery County was the reason for the reconfiguration of both

the Sixth and Eighth Districts, as distinct from a post-hoc rationalization. In fact, there is

affirmative evidence that the I-270 corridor was not a reason for the reconfigurations,



                                             48
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 49 of 68



including both the utter implausibility of the rationale and statements from key

decisionmakers.

       In short, while there may have been other causes that could have marginally

altered the Sixth District, the striking actions complained of are not explained by the

State’s proffers.

       Moreover, for these same reasons, the State has certainly not shown that its

redistricting law was narrowly tailored to achieve a compelling government interest.

       In sum, the record amply demonstrates that the State violated the First

Amendment under the standard we previously set forth in this case; indeed, there is no

way, based on this record, that we could conclude otherwise.


                              IV. ASSOCIATIONAL RIGHTS
       It is likewise well settled that the First Amendment protects the independent right

to associate. See NAACP v. Button, 371 U.S. 415, 430 (1963) (noting that the First

Amendment protects “the right ‘to engage in association for the advancement of beliefs

and ideas’” (quoting NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 460 (1958)));

id. at 431 (“Our form of government is built on the premise that every citizen shall have

the right to engage in political expression and association. This right was enshrined in

the First Amendment. . . . Exercise of these basic freedoms in America has traditionally

been through the media of political associations” (quoting Sweezy v. New Hampshire, 354

U.S. 234, 250 (1957) (plurality opinion))); Patterson, 357 U.S. at 460–61 (noting that

“[e]ffective advocacy of both public and private points of view, particularly controversial


                                            49
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 50 of 68



ones, is undeniably enhanced by group association”).         And this right of association

specifically includes the right to associate with political parties. See Cal. Democratic

Party v. Jones, 530 U.S. 567, 574 (2000) (noting that “[r]epresentative democracy in any

populous unit of governance is unimaginable without the ability of citizens to band

together in promoting among the electorate candidates who espouse their political views”

and that the “First Amendment protects ‘the freedom to join together in furtherance of

common political beliefs’” (quoting Tashjian v. Republican Party of Conn., 479 U.S.

208, 214 (1986))). The Court has explained the importance of this right to associate with

political parties, noting that “political belief and association constitute the core of those

activities protected by the First Amendment.” Elrod, 427 U.S. at 356; see also Kusper v.

Pontikes, 414 U.S. 51, 58 (1973) (explaining that, while restriction on primary voting did

not “deprive [voters] of all opportunities to associate with the political party of their

choice,” it was nonetheless “a ‘substantial restraint’ and a ‘significant interference’ with

the exercise of the constitutionally protected right of free association”). And the kinds of

injury resulting from such associational violations are readily discernable and significant:

“Volunteers are more difficult to recruit and retain, media publicity and campaign

contributions are more difficult to secure, and voters are less interested in the campaign.”

Anderson v. Celebrezze, 460 U.S. 780, 792 (1983).

       It is therefore unremarkable that Supreme Court Justices have repeatedly

recognized these principles in the context of partisan gerrymandering. Explaining that

the First Amendment may be “more relevant” than the Equal Protection Clause for

assessing partisan gerrymandering, Justice Kennedy reasoned that the First Amendment

                                             50
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 51 of 68



protects the interest “of not burdening or penalizing citizens because of their participation

in the electoral process, their voting history, their association with a political party, or

their expression of political views.” Vieth, 541 U.S. at 314 (Kennedy, J., concurring in

the judgment) (emphasis added). And focusing on political association in particular,

Justice Kagan likewise observed only recently that plaintiffs can prove injury in the form

of associational harm, as “distinct from vote dilution,” by showing that the State has

“burdened the ability of like-minded people across the State to affiliate in a political party

and carry out that organization’s activities and objects.” Gill, 138 S. Ct. at 1938–39

(Kagan, J., concurring). As she explained:

       [T]he associational harm of a partisan gerrymander is distinct from vote
       dilution. Consider an active member of the Democratic Party in Wisconsin
       who resides in a district that a partisan gerrymander has left untouched
       (neither packed nor cracked). His individual vote carries no less weight
       than it did before. But if the gerrymander ravaged the party he works to
       support, then he indeed suffers harm, as do all other involved members of
       that party. . . . Members of the “disfavored party” in the State, . . . deprived
       of their natural political strength by a partisan gerrymander, may face
       difficulties fundraising, registering voters, attracting volunteers, generating
       support from independents, and recruiting candidates to run for office (not
       to mention eventually accomplishing their policy objectives).                See
       Anderson v. Celebrezze, 460 U.S. 780, 791–792, and n. 12 (1983)
       (concluding that similar harms inflicted by a state election law amounted to
       a “burden imposed on . . . associational rights”). . . . By placing a state
       party at an enduring electoral disadvantage, the gerrymander weakens its
       capacity to perform all its functions.

Id. at 1938 (citation omitted).

       Accordingly, plaintiffs can prove a First Amendment partisan gerrymandering

claim involving associational harm by demonstrating the elements of such a claim

involving representational rights, but in lieu of the harm involving a burden on


                                             51
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 52 of 68



representational rights, they must prove a harm involving a burden on their associational

rights. Thus, they must prove (1) intent, as described in Part III, supra; (2) that the

challenged map burdened the targeted citizens’ ability to associate in furtherance of their

political beliefs and aims; and (3) causation, again as described in Part III, supra.

       Before turning to address the merits of the plaintiffs’ claim premised on

associational harm, however, we again address in this context the State’s threshold

argument that the plaintiffs have “failed to produce evidence sufficient to establish that

they suffered legally cognizable individual harm,” as necessary to satisfy the injury-in-

fact component of Article III standing.


                                              A

       The State’s argument that the plaintiffs lack standing to bring a partisan

gerrymandering claim premised on harm to their associational rights under the First

Amendment is governed by the same principles applicable to the plaintiffs’ claim for

injury to their representational rights. See Part III.A, supra. Only the nature of the injury

is distinct. While vote dilution diminishes the targeted voters’ opportunity to elect a

candidate of their choice, the associational injury is the burden imposed on the targeted

party members’ ability to affiliate with their political party to carry out its activities and

achieve its aims. As Justice Kagan explained in Gill, “if the gerrymander ravaged the

party [the plaintiff] works to support, then he indeed suffers harm, as do all other

involved members of that party.” 138 S. Ct. at 1938 (Kagan, J., concurring).




                                             52
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 53 of 68



       In this case, the plaintiffs claim that by moving, on net, 66,000 Republican voters

— over 30% of the Republican voters — from the Sixth District and replacing them with

a net of 24,000 Democratic voters, the Republican Party in the Sixth District was indeed

“ravaged.” As they showed and as described in more detail below, interest among

potential Republican voters in the Sixth District declined, fundraising diminished, and

enthusiasm among members of the Republican Party was damaged. And certain of the

plaintiffs specifically described facing this type of waning interest. We conclude that the

plaintiffs, as the ones claiming to have personally suffered associational injury by reason

of the 2011 redistricting, have standing to challenge its constitutionality.


                                              B

       Turning to the merits, we conclude, based on the summary judgment record, that

the   plaintiffs   have   sufficiently   established   their   First   Amendment     partisan

gerrymandering claim as premised on harm to their associational rights. The plaintiffs,

relying on undisputed facts of record, again have shown that they are entitled to judgment

as a matter of law.

       First, as explained in Part III.B, supra, which is also applicable here, in redrawing

the lines of the Sixth District, the State acted with constitutionally impermissible intent to

disadvantage certain citizens based on their party affiliation and voting history.

       Second, with respect to the injury element, the plaintiffs have shown that the 2011

redistricting plan did indeed burden their associational rights.           Before the 2011

redistricting, the Sixth District was safely Republican. The Republican congressional


                                             53
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 54 of 68



representative in the District had been elected to represent the District since 1993, and he

won reelection in 2010 by a margin of 28%. But to break that hold by the Republican

Party, State officials moved over 30% of registered Republican voters from the District

based on their voting history and replaced them with Democratic voters. The plaintiffs

have shown that thereafter voter engagement in support of the Republican Party dropped

significantly.

       Specifically, they demonstrated that, in midterm election years, Republican

participation in Republican primaries in the counties that remained entirely in the Sixth

District fell significantly.    In Allegany County, for example, Republican voter

participation went from 42.8% in the 2010 primary to 26.7% in the 2014 primary. ECF

No. 191-11 at 3, 9–10. And for all counties that remained entirely in the District,

Republican voter turnout in the primaries declined by roughly 30% from 2010 to 2014.

The plaintiffs provided comparable statistics for other elections.

       Further, testimony provided by several of the plaintiffs revealed a lack of

enthusiasm, indifference to voting, a sense of disenfranchisement, a sense of

disconnection, and confusion after the 2011 redistricting by voters — clear evidence that

the plaintiffs were burdened in their ability to “band together in promoting among the

electorate candidates who espouse their political views.” Cal. Democratic Party, 530

U.S. at 574. Plaintiff Strine described how, after the redistricting, “every time we were

out [campaigning], we met somebody who said, it’s not worth voting anymore, every

single time.” Strine Dep. 61. As she put it, “[T]hey just [felt] disenfranchised that . . .

they don’t have somebody that represents them anymore.” Id. at 63. Similarly, Plaintiff

                                             54
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 55 of 68



Ropp described how, while promoting Republican candidates, she frequently met

potential Republican voters who “didn’t want to participate that time because it seemed

too confusing.” Ropp Dep. 37–38. And Plaintiff Cueman described personally feeling

“disoriented” by and “disconnected” from his new congressional district in that he had

“absolutely no connection with what is in [the] district except the portions of Frederick

that were thrown in.” Cueman Dep. 36–37.

       The plaintiffs also demonstrated that fundraising by the Republican Central

Committees of the counties that remained entirely within the Sixth District after the 2011

redistricting dropped off after the redistricting in both midterm and presidential elections.

       We conclude that this undisputed evidence amply demonstrates that the plaintiffs’

associational rights were burdened.      Members of the Republican Party in the Sixth

District, “deprived of their natural political strength by a partisan gerrymander,” were

burdened in fundraising, attracting volunteers, campaigning, and generating interest in

voting in an atmosphere of general confusion and apathy. Gill, 138 S. Ct. at 1938

(Kagan, J., concurring) (citing Anderson, 460 U.S. at 791–92 & n.12).

       Third, as to causation, the same evidence we cited in Part III.B, supra, also

supports causation here. The massive and unnecessary reshuffling of the Sixth District,

involving one-half of its population and dictated by party affiliation and voting history,

had no other cause than the intended actions of the controlling Democratic officials to

burden Republican voters by converting the District into a Democratic district. And it

was this reshuffling that caused the associational harms noted.



                                             55
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 56 of 68



       In short, the record amply demonstrates that the State burdened the plaintiffs’

associational rights, which, when coupled with the plaintiffs’ successful showing of

causation and constitutionally impermissible intent, establishes that the State violated the

First Amendment. Indeed, based on this record, it is hard to conclude otherwise.


                                         V. REMEDY

       While the plaintiffs thus prevail on the merits, to obtain a permanent injunction,

they must also establish (1) that they will suffer irreparable harm absent the injunction;

(2) that remedies available at law, such as monetary damages, are inadequate; (3) that the

balance of equities tips in their favor; and (4) that such an injunction would serve the

public interest. See eBay, Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006); see

also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 31–33 (2008).

       We conclude that in this case, absent an injunction, the plaintiffs will suffer

irreparable harm that cannot be remedied at law. Because the State’s enactment of the

2011 redistricting law violated the plaintiffs’ First Amendment rights, it is well

recognized that the plaintiffs are, and will be, experiencing ongoing constitutional injury

in the absence of a new redistricting map. See League of Women Voters of N.C. v. North

Carolina, 769 F.3d 224, 247 (4th Cir. 2014) (“Courts routinely deem restrictions on

fundamental voting rights irreparable injury”). And only an injunction mandating a new,

lawful map, not money damages, can remedy this injury.

       While the State does not really challenge these conclusions, it argues that the

plaintiffs’ interest in redress is weakened by the fact that any new map will only be in


                                            56
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 57 of 68



place for the 2020 election cycle. This argument presupposes that because there are five

congressional elections after each decennial census, one unconstitutional election

somehow lacks sufficient importance to justify a remedy. Unfortunately, this argument

overlooks the fact that plaintiffs have ongoing associational injury and will suffer

additional representational injury during both the 2020 primary election and the 2020

general election if the injunction is not entered. These are injuries resulting from a

serious constitutional violation and do not deserve to be demeaned by an approach that

tells the plaintiffs essentially “to bear it because it will be over soon” — “soon” meaning

in two years.     Every election employing constitutionally deficient districts causes

irreparable harm. “[O]nce the election occurs, there can be no do-over and no redress.

The injury to these voters is real and completely irreparable if nothing is done to enjoin

this law.” League of Women Voters of N.C., 769 F.3d at 247.

       With respect to the balance of the equities, the State relies on the Supreme Court’s

explanation for affirming the denial of preliminary injunctive relief in this case based on

the plaintiffs’ delay in seeking that relief to argue that the balance tips in the State’s favor

with respect to now granting vel non a permanent injunction. See Benisek, 138 S. Ct. at

1944. But the difference between the plaintiffs’ request for a preliminary injunction and

their efforts to obtain a permanent injunction cannot be so quickly overlooked. The

plaintiffs asked for a preliminary injunction, which operates only pendente lite, some

three and a half years after this action was commenced, and the Supreme Court

concluded that such delay was significant with respect to the interim relief being sought.

But a permanent injunction, which we are now addressing, is the ultimate remedy that

                                              57
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 58 of 68



was sought in this action, and it was requested when the litigation was first commenced

in 2013.    While it is true that the case has dragged on, that protraction cannot be

attributed to the plaintiffs, but to process. This case traveled to the Supreme Court twice

and came back to us twice, and we have not seen any dilatory efforts during the process

that was before us — either by the plaintiffs or by the State.

       Finally, we conclude that a permanent injunction in this case will serve the public

interest. It will redress a serious, ongoing constitutional injury and enable a large number

of Maryland voters to more fully participate in congressional elections. While the State

argues that a permanent injunction will be unduly disruptive, we note our judgment is

being issued two years before the next general election — a time period that will allow

the State to comply in an orderly fashion. The relief sought in this case is discrete and

limited, seeking only to remedy the redrawing of the Sixth District’s lines in a manner

that renders them constitutional. Indeed, the plaintiffs have proposed a map that would

require modifying only the border between the Sixth and Eighth Districts.               We are

confident that the State, if it acts diligently, will have little trouble devising an alternative

map in time for the 2020 election. Finally, we believe that redrawing district lines to

comply with the Constitution will not sow any additional confusion beyond that caused

by the illegal lines themselves.

       Accordingly, we will enter an injunction (1) permanently enjoining the State from

conducting any further elections for members of the U.S. House of Representatives under

the 2011 congressional redistricting plan and (2) directing the State to adopt promptly a



                                               58
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 59 of 68



new congressional districting plan that addresses the constitutional violations found here

with respect to the Sixth District for use in the 2020 elections.




                                             59
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 60 of 68



BREDAR, Chief District Judge, concurring in the judgment:

      Partisan gerrymandering is noxious, a cancer on our democracy. See Vieth v.

Jubelirer, 541 U.S. 267, 292 (2004) (plurality opinion) (concluding that severe partisan

gerrymanders are incompatible with democratic principles); Ariz. State Legislature v.

Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2677 (2015) (stating that to curb

partisan gerrymandering is to restore “the core principle of republican government” that

“voters should choose their representatives, not the other way around”) (quoting Mitchell

N. Berman, Managing Gerrymandering, 83 Texas L. Rev. 781, 781 (2005)); Gill v.

Whitford, 138 S. Ct. 1916, 1940–41 (2018) (Kagan, J., concurring) (“At its most extreme,

[partisan gerrymandering] amounts to ‘rigging elections.’”).      The present danger of

partisan gerrymandering is obvious to courts and scholars alike. See, e.g., Nicholas

Stephanopoulos & Eric McGhee, Partisan Gerrymandering and the Efficiency Gap, 82

U. Chi. L. Rev. 831, 838 (2015) (“[T]he problem of gerrymandering has never been

worse in modern American history.”). Yet, setting a standard by which to measure the

lawfulness of particular partisan gerrymanders has, to date, proven impossible. Today,

this Court addresses partisan gerrymandering against the backdrop of this case’s long

legal history and the many precedential cases that have come before. While I do not

agree with all of Judge Niemeyer’s analysis, I wholeheartedly join the conclusion that the

current Maryland gerrymander infringes the plaintiffs’ valuable associational rights

protected by the First Amendment. Accordingly, I concur in the judgment invalidating

the 2011 reconfiguration of Maryland’s Sixth Congressional District.



                                           60
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 61 of 68



       As the Supreme Court made clear in Vieth, a legal standard employed to measure

the lawfulness of partisan gerrymanders “must be principled, rational, and based upon

reasoned distinctions.”    Vieth, 541 U.S. at 278.        Otherwise, it is not justiciable. 1

From 1986 until today, the Court has rejected standard after standard as not workable

and, consequently, nonjusticiable.      See Davis v. Bandemer, 478 U.S. 109 (1986)

(articulating, as a plurality, that a justiciable partisan gerrymandering claim requires a

showing of intent to discriminate and a denial of a group’s chance to influence the

political process); Vieth, 541 U.S. at 306 (holding that the Bandemer plurality standard

failed and concluding that partisan gerrymandering claims are effectively nonjusticiable);

Vieth, 541 U.S. at 317 (Stevens, J., dissenting) (proposing a standard); Vieth, 541 U.S. at

343 (Souter, J., dissenting) (same); Vieth, 541 U.S. at 355 (Breyer, J., dissenting) (same);

see also Radogno v. Ill. State Bd. of Elections, No. 11-4884, 2011 WL 5868225, at *2–3

(N.D. Ill. Nov. 22, 2011) (listing rejected partisan gerrymandering standards). Here,

Judge Niemeyer, joined by my colleague Judge Russell, puts forth an insightful majority

opinion, one with which I agree in many respects. Compelling as the opinion is, though,

my reading of Vieth and its progeny prevent me from joining it.




       1
          See Republican Party of N.C. v. Martin, 980 F.2d 943, 950 (4th Cir. 1992)
(“Justiciability concerns ‘the power of the federal courts to entertain disputes, and . . . the
wisdom of their doing so.”) (alteration in original); Hamilton v. Pallozzi, 848 F.3d 614,
619 (4th Cir. 2017) (“Justiciability is an issue of subject-matter jurisdiction, and we have
an independent obligation to evaluate our ability to hear a case before reaching the merits
of an appeal.”).


                                              61
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 62 of 68



       I cannot join because Judge Niemeyer’s opinion leans on the results of elections in

assessing the lawfulness of the Maryland gerrymander.         His opinion for the Court

considers evidence of electoral outcomes as proof that the gerrymander succeeded—in

short, that the map-drawers flipped the Sixth District from red to blue. In considering

this evidence, the opinion performs a causation analysis—under both the representational

rights and associational rights theories—that would ask future courts to discern whether a

given electoral outcome resulted from a legislative manipulation of voters or from the

voters themselves changing their minds. Shapiro v. McManus, 203 F. Supp. 3d 579, 602,

606 (D. Md. 2016) (Bredar, J., dissenting); see also id. at 600 (“[T]he courts are not

equipped to distinguish those circumstances in which the State has drowned out particular

voices from those circumstances in which the chorus voluntarily changed its tune.”). The

inherent uncertainty in what causes individuals to vote as they do in a particular election

makes it challenging—perhaps impossible—to conclude that a given instance of partisan

gerrymandering caused an election to turn out as it did.           The Supreme Court’s

requirements for a standard are exacting in this context, so much so that the Court has

cast aside numerous attempted standards. Assessing causation by examining the outcome

of any given election will always be problematic. And, such a problematic test probably

does not satisfy the requirement of Vieth that the tool used to gauge lawfulness be

“principled, rational, and based upon reasoned distinction.” Vieth, 541 U.S. at 278.

Because this problematic causation analysis permeates Judge Niemeyer’s opinion, I write

separately.



                                            62
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 63 of 68



       I concur on narrower grounds, rejecting the representational rights theory once

again, Shapiro, 203 F. Supp. 3d at 602 & n.2, but embracing much of the associational

rights theory. First, the representational rights analysis appears to line up with the many

other valiant—though nonetheless rejected—attempts at crafting a standard for partisan

gerrymandering claims because it does not articulate a sufficiently concrete and

measurable standard. Beyond the causation problems connected to reliance on electoral

outcomes for proof, it also leaves unanswered the line-drawing question: how much

political consideration is de minimis and how much violates the Constitution? See, e.g.,

Vieth, 541 U.S. at 291 (rejecting as not judicially manageable a standard that weighs

factors “with an eye to ascertaining whether the particular gerrymander has gone too

far”). By contrast, an associational rights analysis—one that is stripped of evidence of

electoral outcomes—is different; it poses no line-drawing problem.         This narrowed

associational rights analysis yields a workable standard that, when applied in this

instance, reveals a constitutional violation.    Even without any evidence of electoral

outcomes, the plaintiffs have established a retaliation violation of their First Amendment

right to associate. I therefore concur in the judgment.

       As articulated by Judge Niemeyer, plaintiffs can establish a partisan

gerrymandering First Amendment retaliation violation involving associational harm when

they prove that: (1) those responsible for the redistricting drew the boundaries with the

specific intent to impose a burden on plaintiffs and similarly situated citizens because of

how they voted or the political party with which they were affiliated; (2) “the challenged

map burdened the targeted citizens’ ability to associate in furtherance of their political

                                            63
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 64 of 68



beliefs and aims”; and (3) the map-drawers’ intent to burden was a but-for cause of the

adverse impact. Part IV, ante, at 52. The plaintiffs presented ample evidence of intent,

which Judge Niemeyer lays out in detail. See Part III.B, ante, at 42–45. 2 His opinion

also details how the plaintiffs prove harm and causation, citing sufficient evidence to

prove a constitutional violation. I add that no mention of electoral outcomes is necessary

to prove such a violation, and, indeed, any mention must be omitted to establish a

workable standard under Vieth.

       Regardless of whether the State succeeded in its obvious intent to increase the

likelihood that a Democrat would win the Sixth District, the State certainly caused harm.

The State targeted voters because of the political party affiliation they claimed

(Republican) and with whom they associated (other Repulicans). The State retaliated

against voters for those associations.          This harm differs from a violation of

representational rights in that it does not matter if “[a voter’s] individual vote carries . . .

less weight than it did before.” Gill, 138 S. Ct. at 1938 (Kagan, J., concurring). Rather,

the gerrymander of Maryland’s Sixth Congressional District deprives the disfavored

group of voters of its “natural political strength” by building roadblocks to “fundraising,

registering voters, attracting volunteers, generating support from independents, and


       2
          Evidence of a map-drawer’s intent to impact the election does not pose the same
justiciability problems as proving that the election was impacted in fact. The latter is
dependent on how people vote. Courts cannot and should not try to answer the question
of whether a partisan gerrymander succeeded in changing the outcome of an election.
There are simply too many variables in play—variables that courts are not equipped to
measure.


                                              64
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 65 of 68



recruiting candidates to run for office (not to mention eventually accomplishing their

policy objectives).” Id. This harm occurs before Election Day and persists long after.

And, it is not measured by the outcome of a given election.

      Illustrative examples of associational harm exist in the record before this Court.

For one, during the 2011 redistricting process, the State divided Frederick County for the

first time since 1840. Willis Dep. at 122 (ECF No. 177-14). Frederick County would

constitute a community of interest under almost any definition of the term.           The

redistricting map shows that the State carved out the county seat, the City of Frederick,

and siphoned the City and the County’s more competitive precincts away from the more

solidly Republican precincts. McDonald Expert Report at 23 & Figure 6 (ECF No. 177-

19). Sometimes a state may have to divide communities of interest in order to draw equal

districts after a movement in population; however, the division of Frederick County is not

such a collateral consequence. Coupled with ample evidence of legislative intent, the

scooping out of Frederick’s county seat and competitive precincts constitutes a blatant

targeting of and retaliation against the Republicans in Frederick County. One Frederick

County resident, who was moved from the Sixth to Eighth District, noted that he felt

disoriented and disconnected after the redistricting: “I have absolutely no connection

with what is in this district except the portions of Frederick that were thrown in.”

Cueman Dep. at 36–37 (ECF No. 177-55). This is the essence of associational harm.

      Here, the plaintiffs establish associational harm because they present evidence,

primarily in the form of voter testimony, that the gerrymander “ravaged the party.”

Gill, 138 S. Ct. at 1938 (Kagan, J., concurring). The map-drawers removed over 66,000

                                           65
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 66 of 68



registered Republicans from the Sixth District and added over 24,000 Democrats. Joint

Stipulations ¶¶ 10, 53 (ECF. No. 177-5). When the redistricting map arose in committee

and, subsequently, on the legislative floor, not a single Republican senator or delegate

voted for it. Joint Stipulations ¶ 36. The plaintiffs present testimony, which Judge

Niemeyer summarizes, Part I.A, ante, at 22–25, showing that numerous Republicans

from the Sixth District felt disenfranchised and said that their vote no longer mattered.

Strine Dep. 61–63 (ECF No. 177-53); Cueman Dep. at 36. The plaintiffs testified that the

2011 redistricting foiled Republican organizational efforts. Volunteers spent significant

time helping voters determine in which district they were voting. Ropp Dep. at 36–38

(ECF No. 177-54). And, Republicans lacked enthusiasm, repeating “there’s just no point

in voting anymore” because it seemed like “a losing race.” Strine Dep. at 63. The

plaintiffs cite corroborating evidence that Republican voter turnout dropped, and

Republican fundraising dropped too. Voter Turnout Statistics for 2010 and 2014

Maryland Congressional Primary Elections at 3 (ECF No. 191-11); Stein Decl. at 8 (ECF

No. 210-3).

      Turning to causation, I note that the definition of associational harm simplifies the

analysis and avoids any line-drawing problem. For an associational rights violation, the

causation analysis stops when the map-drawers sketch the lines, adopt the plan, and make

it law. There is no need to look to Election Day. The harm has already occurred.

Members of the disadvantaged party have been severed from their preferred associates.

Consequently, they feel that voting is futile.     Organizers cannot effectively recruit

volunteers or fundraise.    Ties to communities of interest are diminished.            The

                                           66
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 67 of 68



gerrymander has “ravaged the party” before its members can even go to the ballot box.

Gill, 138 S. Ct. at 1938 (Kagan, J., concurring). Because map-drawers inevitably move,

with each redistricting, some voters into districts in which their votes will carry less

weight, any theory that relies on measuring vote dilution depends on drawing a line at

which point the dilution is too much. By contrast, under an associational rights theory,

any retaliation against a voter based on his or her affiliations is a constitutional violation.

For that reason, the theory is more concrete and the violation more measurable.

       I conclude that a First Amendment retaliation claim involving associational harm

is not only cognizable, 3 it is capable of measurement and assessment by concrete

standards. Such a claim is therefore justiciable in the partisan gerrymandering context.

Although I disagree with Judge Niemeyer and Judge Russell’s focus on vote dilution and

electoral outcomes, I do agree with my colleagues in a principally important respect: the

plaintiffs have established as a matter of law that the State retaliated against them in

violation of their First Amendment rights.         Accordingly, I concur in the judgment

docketed with the Court’s opinions.



       3
           Arguably, as I frame the problem, this is no longer even an issue of
“gerrymandering,” if that term is understood to be the purposeful drawing of district
boundaries to affect the outcome of elections. As I have framed the issue and its
resolution, the State here may be guilty of “gerrymandering,” but they are also guilty of a
separate and different misconduct—the intentional retaliation against certain individuals
because of their affiliation with a particular political party. In this sense the case, at least
for my purposes, is not about voting or the outcome of particular elections. But it is most
certainly about the unjustified and illegal retaliation, by state actors, against individuals in
consequence of their having exercised a core constitutional right.


                                              67
       Case 1:13-cv-03233-JKB Document 222 Filed 11/07/18 Page 68 of 68



RUSSELL, District Judge, concurring:

       I entirely concur in Judge Niemeyer’s fine opinion for the Court. There is an

illegal, partisan gerrymander in Maryland, and it succeeded in flipping the Sixth District.

       I agree with Judge Niemeyer that evidence of impact on election results is relevant

and germane to the adjudication of associational claims, and that such evidence is non-

problematic in that context. However, I also agree with Chief Judge Bredar’s separate

conclusion that a First Amendment retaliation claim is sufficiently stated and justiciable

without reference to the results of particular elections. Accordingly, on the record of this

case, in addition to joining Judge Niemeyer, I join Chief Judge Bredar’s narrower opinion

because I agree that the Plaintiffs have proven that they were the victims of First

Amendment retaliation wholly apart from the impact on any election. In my view,

Plaintiffs prevail on both the broad theory articulated by Judge Niemeyer and the narrow

one expressed by Chief Judge Bredar.




                                            68
